          CASE 0:20-cv-01630-JRT-BRT Doc. 40 Filed 10/01/20 Page 1 of 3




                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF MINNESOTA


Peakspeed, Inc.,                                       Civil File No. 0:20-cv-01630-JRT-BRT

                         Plaintiff,               DECLARATION OF OSCAR KRAMER
                                                     IN SUPPORT OF PLAINTIFF'S
V.                                                  OPPOSITION TO DEFENDANT'S
                                                         MOTION TO DISMISS
Timothy Emerson,

                         Defendant.



I, Oscar Kramer, declare as follows:

         1.        I am employed by Plaintiff Peakspeed, Inc . ("Peakspeed") as its Chief

Geospatial Scientist. I submit this Declaration in support of Peakspeed 's Opposition to

Defendant's Motion to Dismiss . I have personal knowledge of the facts set forth herein,

and if called as a witness I could and would competently testify to all of said facts.

         2.        I have been remotely employed as Peakspeed' s Chief Geo spatial Scientist

since February 2020.

         3.        Prior to accepting this role, I worked as an independent consultant for

EmersonAI, LLC ("EmersonAf'). I was hired as a consultant by Defendant Timothy

Emerson ("Tim").

         4.        When I joined the team as Chief Geospatial Scientist in February 2020, I

understood that the company I was joining at the time was called EmersonAI. But I

understood that it was a "reconstituted" EmersonAI, in that it was not the company led by

Tim for which I had previously only been willing to do consulting work; rather, it ~




4815-3795-9117\2
           CASE 0:20-cv-01630-JRT-BRT Doc. 40 Filed 10/01/20 Page 2 of 3




company led by David Eaton as Chief Executive Officer, Tim as Chief Technology

Officer, David Zimmerman as Vice President of Engineering, and me as Chief Geospatial

Scientist. I understood that upon my acceptance of David Eaton's formal offer of

employment, I would receive founders' stock equal to 5% of this reconstituted company.

         5.         I would not have left my previous job had my offer only been to work at a

company led by Tim. Having previously worked with Tim when he was employed by

DirectStream LLC and later as a consultant, I did not think Tim and I had compatible

working styles, nor did I think that Tim was capable of running a software business

without any prior business-management experience-at least not a business that I was

willing to take the risk of leaving a stable job to join.

         6.         However, I knew that David Eaton had previously started and managed

successful businesses in the past. I was only willing to join the team because I understood

that David Eaton was in charge of the business and would be a part owner of the

business, thus giving him a personal stake in the business's success.

         7.         When the team made the joint decision to form Peaks peed, in my mind, the

change from EmersonAI to Peakspeed was merely a name change; Peakspeed was a

reconstituted EmersonAI with David Eaton at the helm as Chief Executive Officer and

part-owner with David Zimmerman, Tim, and me.

         8.         My salary is paid via direct deposit. I know that David Eaton pays my

salary; he has financed all of Peakspeed' s expenses. He also purchased my work laptop.




                                                  2
4815- 3795-9117\2
          CASE 0:20-cv-01630-JRT-BRT Doc. 40 Filed 10/01/20 Page 3 of 3




         9.        My understanding is that Peakspeed is based in Minnesota because that is

where its Chief Executive Officer, David Eaton, and its Vice President of Engineering,

David Zimmerman, live and work on behalf of the company.

         I declare under penalty of perjury under the laws of the United States of America

and the State of Florida that the foregoing is true and correc .




Dated:    _a_1_0_ ~__,2020                       By:
                                                       Oscar Kramer




                                                 3
4815-3795-9117\2
